         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                       CRIMINAL NO. 1:06CR254-1


UNITED STATES OF AMERICA                 )
                                         )
                                         )
                 VS.                     )             ORDER
                                         )
                                         )
DANIEL DOTSON                            )
                                         )


     THIS MATTER is before the Court on the Government’s amended

motion to dismiss the indictment as to the Defendant without prejudice.

     For the reasons stated in the motion,

     IT IS, THEREFORE, ORDERED that the Government’s amended

motion to dismiss is ALLOWED, and the indictment is hereby DISMISSED

WITHOUT PREJUDICE as to the Defendant Daniel Dotson.


                                     Signed: January 12, 2007




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